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    EXHIBIT 1
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                   UNITED STATES DISTRICT COURT FOR
                    THE DISTRICT OF MASSACHUSETTS
                            BOSTON DIVISION



STUDENTS FOR FAIR ADMISSIONS, INC,

          Plaintiff,

          v.

PRESIDENT AND FELLOWS OF                 Civil Action No. 1:14-cv-14176-ADB
HARVARD COLLEGE (HARVARD
CORPORATION),

          Defendant.



                     AMICI CURIAE BRIEF OF
       HARVARD-RADCLIFFE BLACK STUDENTS ASSOCIATION,
            KUUMBA SINGERS OF HARVARD COLLEGE,
                  FUERZA LATINA OF HARVARD,
           NATIVE AMERICANS AT HARVARD COLLEGE,
       HARVARD-RADCLIFFE ASIAN AMERICAN ASSOCIATION,
   HARVARD-RADCLIFFE ASIAN AMERICAN WOMEN’S ASSOCIATION,
           HARVARD ASIAN AMERICAN BROTHERHOOD,
              HARVARD VIETNAMESE ASSOCIATION,
      HARVARD-RADCLIFFE CHINESE STUDENTS ASSOCIATION,
                HARVARD KOREAN ASSOCIATION,
                    HARVARD JAPAN SOCIETY,
              HARVARD SOUTH ASIAN ASSOCIATION,
                   HARVARD ISLAMIC SOCIETY,
          TASK FORCE ON ASIAN AND PACIFIC AMERICAN
                 STUDIES AT HARVARD COLLEGE,
         HARVARD PHILLIPS BROOKS HOUSE ASSOCIATION,
   HARVARD MINORITY ASSOCIATION OF PRE-MEDICAL STUDENTS,
              COALITION FOR A DIVERSE HARVARD,
             FIRST GENERATION HARVARD ALUMNI,
       NATIVE AMERICAN ALUMNI OF HARVARD UNIVERSITY,
           HARVARD UNIVERSITY MUSLIM ALUMNI, AND
              HARVARD LATINO ALUMNI ALLIANCE
              IN SUPPORT OF DEFENDANTS’ MOTION
                    FOR SUMMARY JUDGMENT
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                                      INTERESTS OF AMICI CURIAE1

         Amici Curiae are student and alumni organizations comprised of current and former

Harvard students, who have an institutional interest in ensuring that Harvard College is an

inclusive place of learning that provides students with the critically important benefits of diversity.

As members of the Harvard student and alumni community, Amici Curiae have direct knowledge

about the vital importance of maintaining considerations of race in Harvard’s admissions process,

and believe that their institutional knowledge, as well as the knowledge and experiences of their

members, will contribute to this Court’s understanding and assessment of the issues at the center

of this important case. A description of each amicus curiae organization can be found in the Motion

to Participate as Amici Curiae and is incorporated herein by reference.

                                                INTRODUCTION

         Amici Curiae represent current and former Harvard students from myriad backgrounds,

experiences, and racial and ethnic heritages. Despite their many differences, Amici Curiae stand

unified in support of the continued consideration of race, as one of many factors, in Harvard’s

admissions process. Their unequivocal commitment in support of this consideration is based both

on the significance that their members personally ascribe to their racial or ethnic identity and

because they can attest personally to the devastating consequences that would result to the

educational experience of all Harvard students if they were deprived of the benefits of learning

from fellow students with diverse backgrounds and experiences.

         Amici Curiae strongly condemn all forms of racial discrimination and urge the thorough

investigation and redress of any credible allegations of racial discrimination in admissions


          1
            Local counsel for Amici Curiae in this action, the law firm of Sugarman Rogers Barshak & Cohen, P.C.
(“Sugarman Rogers”), also represents the defendant, President and Fellows of Harvard College (“Harvard”), in matters
wholly unrelated to the legal and factual issues presented by this action. Neither Harvard nor its litigation counsel in
this action have provided any financial support for the preparation of Amici Curiae’s brief or authored this brief in
whole or in part.

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practices. However, Amici Curiae equally condemn the attempt to manufacture conflict between

racial and ethnic groups in order to revive an unrelenting agenda to dismantle efforts to create a

racially diverse and inclusive student body through college admissions. Race consciousness is not

at odds with racial equality. Indeed, race consciousness is necessary to combat racial inequality

given the history of discrimination and entrenched systemic prejudices—both explicit and

implicit—against Black, Latinx,2 Asian, and Native peoples.

        This Court has significant grounds to be skeptical of the claims raised by Plaintiff Students

for Fair Admissions (“SFFA”), which has demonstrated no sincere interest in advancing the rights

of Asian Americans. Rather, this litigation is spearheaded by Edward Blum, a longtime crusader

against civil rights and racial equality. Mr. Blum led the failed challenge against the University of

Texas’s race-conscious admissions policy, which the Supreme Court upheld in 2016 based on its

well-established precedent that colleges and universities may pursue racial diversity as part of their

educational mission. Fisher v. Univ. of Tex., 136 S. Ct. 2198 (2016) (“Fisher II”). Having lost

before the Supreme Court, Mr. Blum—under the guise of Plaintiff in this action—invokes the

discredited and divisive strategy of attempting to pit historically marginalized groups against each

other and demanding, to the detriment of all Harvard students, that the consideration of race be

eliminated from Harvard’s admissions process altogether. SFFA’s attempt to use this new and

divisive twist on old and rejected arguments plainly fails. Harvard’s limited consideration of race,

as part of its holistic admissions policy, is not only constitutional—it is an essential tool in

advancing Harvard’s educational mission.

        Amici Curiae, therefore, support summary judgment in favor of Harvard’s race-conscious

admissions policy for two primary reasons:


        2
          The gender-neutral term “Latinx” is used herein to refer collectively to Latinos, Latinas, and non-binary
persons of Latin American background.

                                                        2
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        First, removing considerations of race from the admissions process would have devastating

consequences on the admission of historically underrepresented and marginalized groups that

could lead to further racial isolation, ignorance, or racial hostility on Harvard’s campus, as well as

significantly diminish the quality of the educational environment for all students. Amici Curiae’s

institutional knowledge of the experiences of racial isolation and, at times, even racial animus

experienced by past and present Harvard students dictates that, rather than roll back Harvard’s

progress on diversity by eliminating considerations of race in admissions, Harvard should intensify

its efforts to promote an inclusive and diverse student climate. Amici Curiae encourage the Court

to carefully review all the declarations submitted in conjunction with this amicus brief, which

contain vital information about the experiences of Harvard students that was impossible to include

in its entirety within the pages of this brief.

        Second, SFFA conflates the question of whether Harvard’s race-conscious admissions

process is permissible with the question of whether Asian American applicants are subject to bias

in admissions. These two questions are not, as SFFA would have the court believe, inextricably

linked. Amici Curiae are committed to eradicating racial discrimination at Harvard, whether in the

admissions process or elsewhere. SFFA, however, has not shown—in satisfaction of its burden as

Plaintiff in this action—that any such bias exists as a direct result of Harvard’s efforts to create a

diverse and inclusive student body through a race-conscious admissions process or that any such

discrimination (if it exists) would be remedied by eliminating race-conscious admissions. The clear

incongruity between SFFA’s claim and the relief sought is demonstrated by the fact that

eliminating considerations of race would primarily benefit white, not Asian American, students.

This disconnect illuminates the true purpose of SFFA’s lawsuit as merely the latest strategy in




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Mr. Blum’s ongoing crusade to undermine Supreme Court precedent and dismantle programs that

promote diversity.

I.     Consideration of Race, as Part of Harvard’s Holistic and Multi-Faceted Admissions
       Policy, Is Constitutional Under Long-Established Supreme Court Precedent and
       Essential to Foster a Diverse and Inclusive Learning Environment.

       It is well-settled Supreme Court precedent that, as part of their educational mission to

promote diversity and inclusion, colleges and universities may consider race as one of many factors

in their admissions practices. As the declarations attached to this brief make abundantly clear,

however, despite efforts to promote diversity, Harvard is still a racially isolating environment for

many students of color. See Exs. 2-17 to Mot. to Participate as Amici Curiae. Harvard has yet to

fully achieve the benefits of having a truly diverse student body and, thus, should continue to make

all lawful efforts to increase campus diversity, including the use of a holistic, multifaceted race-

conscious admissions process. This limited consideration of race is especially important given that

test scores are not an accurate measure of merit due to the racial bias that pervades standardized

testing instruments. SFFA’s proposal to eliminate any consideration of race from the admissions

process would set back Harvard’s efforts to achieve the benefits of diversity and inflict additional

damage on the students of color who attend Harvard.

       A.      Harvard’s Race-Conscious Admissions Policy Is Permissible Under Well-
               Settled Supreme Court Precedent and Necessary to Promote Racial and
               Ethnic Diversity.

       The Supreme Court has for decades recognized that universities may consider race “to

achieve that diversity which has the potential to enrich everyone’s education.” Grutter v. Bollinger,

539 U.S. 306 (2003); see also Regents of Univ. of Cal. v. Bakke, 438 U.S. 265, 311-13 (1978)

(Powell, J.) (reasoning that universities have a unique academic freedom to create a diverse student

body, including racial diversity). As recently as 2016, the Supreme Court reaffirmed the core



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principle that a diverse student body yields numerous educational benefits for all students. Fisher

II, 136 S. Ct. at 2208. The Court assumed “as given” its prior precedent on this point in Fisher v.

Univ. of Tex., 570 U.S. 297, 307 (2013) (“Fisher I”) (citing Grutter, 539 U.S. 306; Gratz v.

Bollinger, 539 U.S. 244 (2003); and Bakke, 438 U.S. 265).

        Harvard students from underrepresented backgrounds, who experience life on campus as

outsiders every day, do not feel that Harvard has yet achieved the benefits that come from enrolling

a truly diverse class. Particularly in moments of acute stress or controversy, students of color rely

on each other and their affinity groups for support where the Harvard administration has fallen

short. Moreover, there are continuing concerns as to whether student communities of color will be

sufficiently large enough to wield some power and influence, such as hosting the Black

Convocation to welcome new Black students to Harvard, Decl. of Aba Sam (“Sam Decl.”) ¶ 5,

preventing the closure of the Harvard University Native American Program, Decl. of Emily Van

Dyke (“Van Dyke Decl.”) ¶ 15, lobbying the administration for a comprehensive Ethnic Studies

program and a multicultural center, Decl. of Margaret Chin (“Chin Decl.”) ¶ 23, or becoming part

of an active network of alumni of color, Decl. of Rashid Yasin (“Yasin Decl.”) ¶ 3; Decl. of Daniel

Lobo (“Lobo Decl.”) ¶ 9; Decl. of Debra Sanchez Reed ¶¶ 7-8. It is also important for students of

all backgrounds to interact with members of other races in significant enough numbers to dispel

the myth that any racial group is a monolith. To eliminate race-conscious policies would have a

deleterious effect on the student experience by reducing the number of students of color,

dismantling their support systems, deepening their isolation, and preventing a richer educational

experience for all students.

       The consideration of race in Harvard’s holistic admissions policy is sufficiently “narrowly

tailored” to attain its educational goal of racial and ethnic diversity. “‘To be narrowly tailored, a



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race-conscious admissions program cannot use a quota system’ but instead must ‘remain flexible

enough to ensure that each applicant is evaluated as an individual and not in a way that makes an

applicant’s race or ethnicity the defining feature of his or her application.’” Fisher, 570 U.S. at

309 (quoting Grutter, 539 U.S. at 334, 337). It must “consider all pertinent elements of diversity

in light of the particular qualifications of each applicant,’” and implement “truly individualized

consideration” that may use race in a “flexible, nonmechanical way.” Grutter, 539 U.S. at 333

(quoting Bakke, 438 U.S. at 317). Harvard’s admissions process does just that by considering

applicants as a whole person, comparing their qualifications with those of all other applicants, and

assessing them in the context of the opportunities and challenges they have faced. See Report of

David Card, Ph.D, Ex. 33 to Decl. of Felicia H. Ellsworth in Supp. of Harvard’s Mot. for Summ.

J. (“Card Rep.”) at 16, 19. Race is but one consideration among multiple variables that form part

of this evaluation, including standardized test scores, an alumni interviewer evaluation, letters of

recommendation, applicant essays, the academic strength of applicants’ high schools, the

economic and demographic profile of applicants’ communities, parents’ level of education,

extracurricular activities, and optional submissions of scholarly work, artwork, or recordings of

music or dance performances. See Harvard Stmt. of Material Facts (“Harvard’s SMF”) ¶¶ 15, 22.

       These myriad race-neutral factors play the dominant role in a student’s admission. Indeed,

race has less of an effect on applicants’ chances of admission than many other variables, such as

teacher and guidance counselor recommendations, alumni interviews, the character of their high

schools or neighborhoods, or their intended career or major. See Card Rep. at 82-83. Further,

applicants for whom race appears to have had a larger positive effect on their likelihood of

admission had the strongest applications—among the top ten percent of the applicant pool based

on race-neutral factors. Id. at 84. Such highly qualified candidates are impressive across many



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metrics, and it is impossible to conclude that race was the determinative factor in their admission.

Id.

        Yet, if Harvard eliminated the consideration of race, even while maintaining its existing

race-neutral efforts to achieve diversity, the population of Black, Latinx, or “Other” 3 race students

would dramatically decrease by nearly 50%. See Card Rep. at 103, 107-08 (demonstrating that

relative to the Class of 2019, African American students would decrease from 14% to 6% and

Hispanic or Other students would decrease from 14% to 9%). This outcome is neither unexpected

or theoretical. Some of this can be explained by an overreliance on standardized test scores, which

are infected by racial bias, as explained infra Section I.B. Schools that implement admissions

policies that give too much weight to test scores and grades run the risk of systematically

undervaluing the strengths and potential of many underrepresented applicants of color.

        The sharp decline in Black and Latinx student populations has become a reality at highly

selective universities that have implemented colorblind admissions, such as the University of

California at Berkeley, the University of California at Los Angeles, and the University of

Michigan. Id. at 99. After Proposition 209 banned consideration of race in the University of

California system in 1996, admission of Black and Latinx students at California schools dropped

precipitously, especially at the most selective schools. Prop. 209 Lands On UC, L.A. TIMES,

Apr. 1, 1998 (reporting that the number of Black and Latinx students admitted to UC Berkeley, as

a part of the first freshman class since Proposition 209 went into effect, dropped by 66% and 53%,

respectively,   from     the   number     of    such    students    admitted    the    previous    year),

http://articles.latimes.com/1998/apr/01/local/me-34867. Almost two decades later, those student

communities have not recovered. UCLA’s Chancellor lamented that the school “continues to fall


        3
         Due to their small numbers, Harvard’s expert included students identifying as Native American and
Hawaiian/Pacific Islander into the “Hispanic” racial category. Card Rep. at 55.

                                                    7
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far short of the diversity California’s public colleges and universities enjoyed before” Proposition

209, leaving “many of our students of color [to] feel isolated, as strangers in their own house . . .

[and] [o]thers [to] feel targeted, mocked or marginalized, rather than recognized and valued.” Gene

D. Block, Office of the Chancellor, The Impact of Proposition 209 and our Duty to Our Students,

Feb. 24, 2014, https://chancellor.ucla.edu/messages/the-impact-of-proposition-209-and-our-duty-

to-our-students/.

       Harvard students of color know firsthand that their school still struggles with “issues of

diversity and inclusion,” including “ongoing feelings of isolation and alienation among racial

minorities.” Harvard’s SMF ¶ 163. The significant decline in Black, Latinx, and possibly students

from Asian subgroups4 and Native students, that would result from an end to race-conscious

admissions, would only exacerbate these issues. And all Harvard students would be deprived of

the educational benefits of learning in a diverse environment that is crucial to succeeding in a

multiracial workplace and society.

       B.         Race Consciousness in Admissions Is Essential to Achieve the Benefits of
                  Diversity Due to Discrimination in Standardized Testing.

       Harvard’s ability to consider race, as one of many factors, in admissions is indispensable

to its ability to achieve the benefits of diversity. This is especially true because the test scores—

on which Harvard and other colleges and universities so heavily rely—are tainted by racial bias.

Thus, short of eliminating standardized test scores altogether, it is crucial for Harvard to consider

race, as one of many factors, as it works to identify talented and qualified students of color who

may otherwise be undervalued based on test scores that do not accurately measure their capacity

for success at Harvard and beyond.



       4
           The Asian race category in Harvard’s data is not disaggregated by specific ethnic groups.


                                                          8
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         SFFA’s erroneous assumption that test scores are a valid and reliable5 indicator of merit,

despite evidence that tests like the SAT and ACT underpredict the potential of many talented and

qualified students of color, is a fatal flaw in its challenge to Harvard’s policy.6 See, e.g., Pl.’s Br.

in Supp. of Summ. J. (“Pl.’s Br.”) at 7 (quoting one of its experts referring to test scores as an

objective measure of merit). Indeed, four Sixth Circuit judges recognized that standardized test

scores are not objective measures of merit, stating “the record indicates that LSAT scores are

neither race-neutral or gender-neutral criteria for admissions decisions.” Grutter v. Bollinger, 288

F.3d 732, 771 (6th Cir. 2002) (Clay, J., concurring), aff’d, 539 U.S. 306.

         Racial bias is built into the very fabric of standardized tests. Before an experimental test

question is approved for use on a standardized test like the SAT, test manufacturers test the

question for reliability. William C. Kidder & Jay Rosner, How the SAT Creates “Built-In-

Headwinds”: An Educational and Legal Analysis of Disparate Impact, 43 SANTA CLARA L. REV.

131, 146, 156 (2002). A test is reliable when its findings can be replicated: the results should be

the same for an examinee taking the test multiple times under the same conditions. See id. at 156.

Thus, a new question must generally produce the same findings as pre-existing questions. See id.

Test manufacturers deem a question reliable when “high ability” examinees are more likely than

“low ability” examinees to answer correctly. Id. at 157. But test manufacturers fail to use any

independent measure of “ability.” James W. Loewen, Here We Go Again: Tests for the Common

Core May Be Unfair to Some and Boring to All, HISTORY NEWS NETWORK, Nov. 18, 2014,


         5
            “‘Valid’ means that tests test what they claim to measure (i.e., content validity) and correlate strongly with
performance in college (predictive validity).” Consultation on the Validity of Testing in Education and Employment
Before the U.S. Comm’n on Civil Rights (June 16, 1989) (statement of James W. Loewen, Harvard-trained sociologist
and author) in THE VALIDITY OF TESTING IN EDUCATION AND EMPLOYMENT, 42 (Eileen Rudert, ed., 1993). A measure
is reliable if it produces consistent results (i.e., if multiple tests are given under the same conditions, the result should
be the same).
          6
            “One-third of the gender gap on the math exam, all of the gender gap on the verbal exam, and perhaps 40
percent of the black/white gap on the verbal exam, is due to test bias.” Loewen statement to the U.S. Comm’n on Civil
Rights, supra note 5, at 42.

                                                             9
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https://historynewsnetwork.org/blog/153543. Instead, test manufacturers define “high ability” as

an examinee who performed well on the overall test and will discard as “unreliable” questions on

which high scorers do not outperform low scorers. Id.; Kidder, supra, at 157. If the test itself is

biased and unfairly depresses the scores of some examinees, test makers’ reliability check will

reproduce that bias.

       “Like most other ‘standardized’ tests given widely in the U.S., researchers originally

validated the SAT on affluent white students.” Loewen, supra. As a consequence, “[a]ffluent white

students have always done better on [the SAT] than have African Americans, Hispanics, Native

Americans, Filipino Americans, or working-class whites.” Id. And because the “ability” of an

examinee is measured by the yardstick of affluent white individuals’ performance, experimental

test questions are systematically discarded as “biased” when more Black or Latinx students answer

correctly than white students, resulting in a scored test comprised entirely (or almost entirely) of

questions that favor white students, sometimes by large margins. Id.; Kidder, supra, at 133-72.

         [I]f high-scoring test-takers—who are more likely to be white (and male, and
         wealthy)—tend to answer the question correctly in pretesting, it’s a worthy SAT
         question; if not, it’s thrown out. Race and ethnicity are not considered explicitly,
         but racially disparate scores drive question selection, which in turn reproduces
         racially disparate test results in an internally reinforcing cycle.

Jay Rosner, The SAT: Quantifying the Unfairness Behind the Bubbles, in SAT WARS: THE CASE

FOR TEST-OPTIONAL COLLEGE ADMISSIONS 134 (Joseph A. Soares 2015) (internal citation

omitted). This process is “used by psychometricians to construct admissions tests such as the SAT,

ACT, GRE, LSAT, GMAT, MCAT, and many other bubble tests.” Id.

       An example of the bias produced by this process is an October 1998 administration of the

SAT, on which white students outperformed Black and Chicano students on every single scored

question. Kidder, supra, at 148. More than half of the questions had performance gaps so wide that

the percentage of white students who answered correctly was at least 15 percentage points higher
                                                 10
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than the percentage of Black students who answered correctly.7 Id. at 148-50. If equally valid

questions—but with a less racially disparate impact—were used, the Black-white score gap could

be closed by 40%, while the Chicano-white score gap could be reduced by 25%. Id. at 172; Hidden

Biases Continue to Produce Powerful Headwinds for College-Bound Blacks Aiming for Higher

Scores on the SAT, 41 J. OF BLACKS IN HIGHER EDUC. 90, 92 (2003). Instead, “the process currently

used to construct the SAT, LSAT, GRE, and similar tests unintentionally operates to select

questions with larger racial and ethnic disparities (favoring Whites).” Kidder, supra, at 210.

Research has found that “99% of SAT math questions chosen to appear on scored sections ha[d]

to be answered correctly [in pre-testing] by . . . a higher percentage of whites than Mexican

Americans[] and a higher percentage of whites than blacks, simultaneously.” Rosner, supra, at

135. The process has “the ultimate effect of contributing to—even guaranteeing—the lower

performance of African Americans and Chicanos on the SAT.”8 Kidder, supra, at 156.

         In 2003, Roy Freedle, who served for 31 years as a cognitive psychologist for Educational

Testing Services (“ETS”), the creator of the SAT, revealed that Black and Latinx students

consistently outperformed white students on hard questions, while white students outperformed

Black and Latinx students on easy questions, perhaps because the hard questions used vocabulary

taught at school, while the easier questions used words learned at home that had varying colloquial

meanings (with the test rewarding answers that matched the meaning most frequently used in




         7
            Another purported quality control measure—differential item functioning (“DIF”)—adds to the bias. Due
to DIF, “whites may outscore blacks on items, but the items will still get dropped because whites don’t outscore blacks
by a great enough margin.” Loewen, supra; see also id. (“Thus if 7% fewer African Americans typically get an item
correct, compared to whites, and if 6% is the cutoff point that triggers DIF, then items on which blacks do ‘only’ 1%
worse than whites will get flagged for scrutiny.”).
          8
            See also Kidder, supra, at 209 (noting that changes expected to be made to the SAT in 2005 would not solve
this problem).


                                                         11
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white, middle class homes like those of the test creators).9 See generally Roy O. Freedle,

Correcting the SAT’s Ethnic and Social-Class Bias: A Method for Reestimating SAT Scores, 73

HARV. EDUC. REV. 1 (2003); see also id. at 28 (noting that there is “evidence for this bias pattern

across a wide span of tests” and mentioning evidence of cultural bias on Advanced Placement

exams, the GRE, and high school vocabulary exams). Because correct answers on easy

questions—those infected with cultural bias—yielded the same amount of credit as correct answers

to hard questions, test scores for Black students were artificially depressed by as much as 200 or

300 points. Id. at 12-13. Students of color “lose enough points on the easy items so that it is very

difficult, in fact impossible, for them to regain sufficient ground when responding to the hard items

to show their true ability.” Id. at 20. A 2010 study replicated Freedle’s findings, showing that the

SAT “favors one ethnic group over another.” Maria Veronica Santelices & Mark Wilson, Unfair

Treatment? The Case of Freedle, the SAT, and the Standardization Approach to Differential Item

Functioning, 80 HARV. EDUC. REV. 106, 126 (2010) (noting that the study’s findings called into

“question the validity of SAT verbal scores for African American examinees”).

         Test bias likely also artificially depresses the scores of other people of color, such as Native

Americans and members of Asian American/Pacific Islander subgroups.10 For example, according

to the ACT’s benchmarks of college readiness, 50% of white examinees who tested between 2013

and 2017 met three of four benchmarks of college readiness, while only 16% of American Indian

and 23% of Pacific Islander examinees did the same. See ACT, Condition of College & Career

Readiness 2017, http://www.act.org/condition2017. Similarly, in 2010, 48% of California’s high



         9
           Although “ETS researchers have proven that some groups use a word in one way while other groups use it
in another,” by 1989, “ETS ha[d] never dropped or included a single item as a result of this research” and “d[id] not
use review panels to see if items might be unfairly unfamiliar to certain groups.” Loewen Stmt. to the U.S. Comm’n
on Civil Rights, supra note 5, at 43.
         10
            Although Kidder and Rosner’s study focused on Black and Latinx examinees, the authors suggested that,
like Freedle’s work, their finding also apply to other people of color. Kidder, supra, at 168-70.

                                                        12
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school students who took the SAT scored 1500 or above (out of 2400), and they passed 58% of

the AP exams they took. In contrast, in a California high school that was 44% Hmong, only 8% of

students who took the SAT scored 1500 or above, and students there passed only 16% of the AP

exams they took. At another California high school that was 40% Filipino, the comparable

percentages were 13% and 22%, respectively. Nat’l Comm’n on Asian Am. & Pacific Islander

Research in Educ. & ETS, iCount: A Data Quality Movement for Asian Ams. and Pacific Islanders

in Higher Educ., at 18-19, Table 4 (2013); see also Educ. Trust, Overlooked & Underserved:

Debunking the Asian “Model Minority” Myth in California Schools [Policy Brief], Educ. Trust

West     (Aug.      2010)     (documenting        test    score     gaps     affecting     Laotian,     Cambodian,

Guamanian/Chamorro, Samoan, and Filipino students).

         In addition to the inherent racial biases in the tests themselves, standardized test scores are

not valid measures of how well a student will perform in college.11 “[N]either cumulative grade

point averages nor national aptitude test scores have ever been shown to be anything more than

rather crude instruments for predicting first year grade point averages in given academic settings;

and after the first year their predictive value decreases sharply.” Luke Charles Harris, Rethinking

the Terms of the Affirmative Action Debate Established in the Regents of the University of

California v. Bakke Decision, 6 RES. IN POL. & SOC’Y 133, 145 (1999). A 2016 analysis of data

involving 475,000 examinees at 176 colleges across the country found that, at 62% of the colleges



         11
           See also Kimberly West-Faulcon, More Intelligent Design: Testing Measures of Merit, 13 U. PA. J. CONST.
L. 1235 (2010-11) (discussing the ramifications of social science research showing that standardized tests have racially
skewed scores and do not accurately predict college performance); Charles R. Lawrence III, Two Views of the River:
A Critique of the Liberal Defense of Affirmative Action, 101 COLUM. L. REV. 928, 945 (2001) (“An extensive body of
research challenges the usefulness of standardized tests in predicting the performance of poor and minority students,
and finds that the SAT does a better job predicting the socioeconomic status of the test taker's parents than predicting
college performance.”); Susan Sturm & Lani Guinier, The Future of Affirmative Action: Reclaiming the Innovative
Ideal, 84 CALIF. L. REV. 953, 957, 968-80 (1996) (arguing that SAT and other standardized tests are racially biased
and explaining that standardized test scores have limited predictive power with respect to students’ future
performance).

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studied, there was a statistically significant difference in how well high school GPA and SAT

scores predicted the first-year college grades of Black students as compared to how accurately high

school GPA and SAT scores predicted the first-year college grades of their white classmates.

Herman Aguinis, et al., Differential Prediction Generalization in College Admissions Testing, 108

J.   OF   EDUC. PSYCH. 1045, 1053 (2016). Similarly, at 41% of the colleges studied, there were

statistically significant differences in how well high school GPA and SAT scores predicted the

first-year college grades of Latinx students as compared to how well high school GPA and SAT

scores predicted the first-year college grades of their white classmates. Id. While this study

concerned the SAT, the study’s author noted that the findings are applicable to other standardized

tests as well. Press Release, New Research Uncovers Hidden Bias in College Admissions Tests,

Indiana Univ. Bloomington Newsroom (Jan. 25, 2016), http://archive.news.indiana.edu/releases/

iu/2016/01/bias-found-in-precollege-tests.shtml.

           Test scores also do not accurately predict success after college. For example, a study of

Black, Latinx, and Native American graduates from the University of Michigan’s classes of 1970-

96 found that, despite having lower standardized test scores, they were as successful as their white

classmates in their professional life in terms of income, career satisfaction, and civic contributions.

Richard O. Lempert et al., Michigan’s Minority Graduates in Practice: The River Runs Through

Law School, 25 L. & SOC. INQUIRY 395, 468-79, 485-90 (2000); see also David B. Wilkins &

Elizabeth Chambliss, Harvard Law School Report on the State of Black Alumni: 1896-2000,

Harvard Law School Program on the Legal Profession (2002); David B. Wilkins & Bryon Fong,

Harvard Law School Report on the State of Black Alumni II: 2000-2016, HLS Center on the Legal

Profession Research Paper No. 2018-2 (August 1, 2017) (noting that “the most comprehensive

examination of the careers of the black graduates of any school ever assembled” shows that the



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majority of Black Harvard Law School alumni surveyed have enjoyed considerable success even

though, nationally, Black LSAT examinees have, on average, lower scores than white examinees).

       The impact of racial bias in standardized testing on the ability of colleges and universities

to assemble a class of racially diverse students is profound. Artificially depressed test scores hinder

students’ ability to procure offers of admission, scholarships, and other educational opportunities.

Because standardized test scores have the patina of legitimacy, students of color themselves often

do not realize that the tests are infected by racial bias, thus damaging their self-confidence if they

receive a low score. As one professor noted, “[t]eaching experience has shown me that based upon

their SAT and GRE scores, blacks think they have no chance at graduate school.” Loewen Stmt.

to U.S. Comm’n On Civil Rights, supra, at 41 n.2. “Conversely, advantaged whites showing only

a modest ability to read, write, and think, test well, and win admission to prestigious schools and

fine jobs.” Id. “Unless counter-balanced by robust affirmative action programs, standardized tests

block the dreams of many [people of color] . . . for equal access to education and employment.”

Id.

       C.      The Need for Diversity and Inclusion Continues to Be a Pressing Issue at
               Harvard.

       There is no question that Harvard needs student diversity to improve its school climate.

Indeed, Harvard acknowledges that there is much work to do for its campus to become truly

inclusive. Harvard’s Br. in Supp. of Summ. J. at 28. Many Harvard students who come from

historically underrepresented and/or disadvantaged communities continue to feel unwelcome in

social and academic spaces on campus. The declarations provided by Amici Curiae, representing

students and alumni from an array of backgrounds, include incredibly personal stories that paint a

consistent picture of racial isolation for their members.




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         For example, many students in STEM classes have assumed that their Black classmates are

not good at math and science and, thus, declined to collaborate with them. Sam Decl. ¶¶ 7-8. And

Latinx students have, in a number of instances, been mistaken by students and staff as “laborers”

as part of an overall assumption that they do not fit the mold of a Harvard student. See Ruben E.

Reyes, Jr., I Should Have Gone to Stanford, HARV. CRIMSON, Oct. 16, 2017,

https://www.thecrimson.com/article/2017/10/16/reyes-latinx-longform/. In some cases, the social

isolation that students experience inhibits them from reaching their full academic potential. See

Van Dyke Decl. ¶¶ 10-12 (discussing a gifted Harvard classmate from the Ojibwe Tribe, who

began to struggle academically due to feelings of isolation and was tragically killed after returning

to his reservation while on academic probation). Issues of diversity and inclusion are no less urgent

for Asian, Asian American, and Pacific Islander students, who are too often treated as a monolithic

entity, or stereotyped as model minorities with high test scores, but lacking the social skills

necessary to take on leadership roles. See Decl. of Melissa Tran (“Tran Decl.”) ¶ 5; Decl. of

Jonathan Paek ¶ 10; Julie S. Chung and Alexander Z. Zhang, Students for Fair Admissions and

Harvard         Both       Got       It      Wrong,        HARV.         CRIMSON,          July      18,       2018,

https://www.thecrimson.com/article/2018/7/18/chung-zhang-sffa-harvard-wrong/.

         The testimonies provided in the accompanying declarations demonstrate that ensuring race

consciousness in admissions is essential because the “Harvard administration has not done enough

to foster inclusion,” and the task often falls to students of color to support each other.12 Decl. of


         12
          For example, in 2014 when she was a sophomore at Harvard, Kimiko Matsuda-Lawrence, who is Black
and Japanese, wrote and directed a play based on interviews with more than 40 Harvard students of color who
expressed feelings of alienation because of false assumptions that they do not belong at Harvard. See Bethonie Butler,
‘I, Too, Am Harvard’: Black students show they belong, WASH. POST, Mar. 5, 2014, https://www.
washingtonpost.com/blogs/she-the-people/wp/2014/03/05/i-too-am-harvard-black-students-show-they-belong/
?utm_term=.111eb82225d6. Matsuda-Lawrence’s idea stemmed from discussion among members of Amicus Curiae
Kuumba Singers of Harvard College, and the play was presented as part of Kuumba’s annual Black Arts festival. Id.
The interviews developed into a highly publicized campaign in which students of color asserted their right to be
respected as members of the Harvard community. Tumblr, I Too Am Harvard, http://itooamharvard.tumblr.com/.

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Catherine Ho (“Ho Decl.”) ¶ 4; see also Decl. of Cecilia Nuñez (“Nuñez Decl.”) ¶ 15; Lobo Decl.

¶ 6. Amici Curiae have often been compelled to compensate for the lack of sufficient support and

inclusion for students of color at Harvard by providing their members with resources to navigate

campus life and opportunities to build connections with others who share similar experiences. As

a Board member from Fuerza Latina explained, members of Amici Curiae “come together to fight

discrimination and hostility,” but without a diverse campus “we wouldn’t necessarily be able to

advocate for ourselves” or “offer that same support.” Nuñez Decl. ¶¶ 11-12. Among other things,

Amici Curiae provide mentoring and networking opportunities for students who are the first in

their family to attend college, Lobo Decl. ¶¶ 5, 9, community-building for students who experience

racial isolation, Sam Decl. ¶¶ 5, 13-14, and increased cultural awareness for all students on

campus, Ho Decl. ¶ 5. Due to insufficient equity and inclusion on campus, Amici Curiae have also

engaged in advocacy to force Harvard to take action, such as a campaign led by TAPAS, Diverse

Harvard, and other groups to secure a comprehensive Ethnic Studies program, which has not been

established by Harvard despite decades of student advocacy, Chin Decl. ¶ 23, and another decades-

long struggle involving numerous affinity groups representing people of color to have a

multicultural center on campus, Sam Decl. ¶ 20 (describing how the lack of a designated space

sends the message that the University does not value cultural diversity).

        Repeated incidents of hostility on campus, including racial slurs and other forms of

aggression, are additional evidence that Harvard has not achieved an inclusive climate. See Nuñez

Decl. ¶ 10 (describing how she and other Latinx students depended on each other when they were

called “wetbacks” while walking on campus together); Sam Decl. ¶ 12 (describing an incident

when a member of BSA was harassed by a group of drunk people chanting racial slurs and confided

in fellow BSA members); Tran Decl. ¶ 6 (describing perceptions of people from Southeast Asian



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countries as “poorer, less intelligent, and even more barbaric than people from other Asian

countries”). During the 2017-18 school year, the Cambridge Police Department (“CPD”) violently

attacked a Black Harvard College student. See Crimson Editorial Bd., Condemning Police

Brutality at Harvard, HARV. CRIMSON, Apr. 20, 2018, https://www.thecrimson.com/article/2018/

4/20/editorial-police-brutality-at-harvard/. BSA, whose members believe the student was treated

more harshly due to his race, joined other student groups in releasing a statement that criticized

the CPD for unnecessarily resorting to violence instead of providing the student with appropriate

support. See Letter from Harvard Black Law Students Ass’n to Harvard Univ. Cmty. & Broader

Cambridge     &    Boston    Cmty.,    Police    Brutality   at   Harvard,    Apr.    13,     2018,

https://orgs.law.harvard.edu/blsa/media-gallery/police-brutality-at-harvard-april-13-2018/;    Sam

Decl. ¶¶ 13-18. During the same school year, a campus organization distributed fake deportation

notices in students’ dorms for the well-intentioned purpose of raising awareness about unfair

immigration policies without realizing the possibility that some students may actually be

undocumented. See Nuñez Decl. ¶ 9.

        Meanwhile, in October 2014, about 400 members of the Harvard community, most of

them Asian American women students, received an email addressed to “slit-eyes,” with the writer

threatening to come to the Harvard campus the following day to “shoot all of you” and “kill you

individually.” Chin Decl. ¶ 35. The source of the death threats continued to contact Asian women

students at Harvard throughout October, and in December 2014 a separate threatening email was

sent to 80 Asian women students at Harvard. Noah J. Delwiche, Emailed Death Threat

Investigation Remains Open, HARV. CRIMSON, Apr. 6, 2015, https://www.thecrimson.com/

article/2015/4/6/email-threats-investigation-ongoing/; Steven Lee, Students Criticize Response to




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Emailed Death Threat, HARV. CRIMSON, Oct. 4, 2014, https://www.thecrimson.com/article/

2014/10/8/discussion-criticize-response-threat/.

       In addition, Amici Curiae have had to act in response to hostility toward students of color

fanned by this lawsuit and other attacks on race-conscious admissions. See Jasmine N. Hyppolite,

A Room Full of Mirrors: Harvard Without Affirmative Action, HARV. CRIMSON, July 9, 2013

(discussing the “emotional toll” of the case on students), https://www.thecrimson.com/article/

2018/7/9/hyppolite-harvard-without-affirmative-action/. In 2016, Harvard alumni formed Diverse

Harvard to campaign against a slate of candidates running for the Harvard Board of Overseers,

four of whom had written or testified extensively against affirmative action in lockstep with the

arguments that SFFA makes in this case. See Chin Decl. ¶ 44 (“It was clear that they were using

Asian Americans as a cover to attack the whole-person admissions process and establish a

complete bar against any consideration of race, so I joined with other alumni to form the Coalition

for a Diverse Harvard.”). Amici Curiae often work in coalition with each other and are concerned

that this case could undermine their ability to collaborate with each other and receive the benefits

of a diversity student body. See Decl. of Jasmine Parmley ¶ 5 (“[Edward Blum and SFFA’s]

actions and words do not reflect how we feel, nor our lived experiences. . . . We are uncomfortable

with the way that Blum and SFFA could pit Asian Americans against Harvard and against other

people of color . . . .”); Ho Decl. ¶ 9, 12-13 (describing how AAWA would lose the richness of its

programming without being able to collaborate with other women of color to explore their

multifaceted identities).

       Embedding diversity and inclusion into the academic and social environment at Harvard

requires a selection process that recognizes the value of racial diversity, as part of a larger need to

address the challenges—and, at times, hostility—that students of color experience after their



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admission to Harvard. As Paul L. Choi, who serves on Harvard’s Board of Overseers, explains,

“having a diverse environment [is] an integral part of the learning experience for students and an

indispensable building block for making students feel welcome at Harvard.” Paul L. Choi, Harvard

Overseers       Election      Candidate        Questionnaire       Responses        (Mar.       2017),

https://www.diverseharvard.org/overseer-responses-2017. Race-, class-, and gender-conscious

admissions permit consideration of how bias affects selection criteria and enables Harvard to admit

a diverse and qualified group of students. Given these circumstances, eliminating any

consideration of race from the admissions process would only cause additional damage.

II.    A Race-Conscious Admissions Policy That Fosters Diversity of Underrepresented
       Students Does Not Conflict with the Interests of Asian Americans.

       Like many racial, ethnic, and religious minorities, Asian Americans have historically faced

discrimination and marginalization in this country, but they have also shared in its civil rights

successes. Rather than driving discrimination against Asian Americans, race-conscious remedies

have helped forge their path to equality. Indeed, SFFA fundamentally misconstrues the purpose of

considering race, as one of many factors in admissions: to achieve the benefits of a racially and

ethnically diverse student body, which may not otherwise be possible due to substantial barriers to

educational opportunities for certain talented students of color. Race consciousness in admissions,

therefore, is meant to further racial equality, and any intentional discrimination against a particular

racial group would be antithetical to that purpose. That is why SFFA’s extreme remedy—to end

all consideration of race—is misplaced even if their allegations of discrimination against Asian

Americans were true. This inherent disconnect between SFFA’s claims and the requested remedy

reveals the true reasons for this lawsuit. SFFA is not trying to vindicate the rights of Asian

Americans—who, like all Harvard students, would be harmed from the lack of diversity resulting

from the elimination of race consciousness—but rather to advance the hidden agenda of Edward

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Blum in his quest to prevent all colleges and universities from achieving racially diverse and

inclusive educational environments.

       A.      Asian Americans Benefit from Race-Conscious Remedies.

       Asian Americans have a long and tragic history of racial discrimination in the United

States. The first immigration law banning entry of an entire ethnic group to the United States

targeted Chinese immigrants and was later extended to Japanese immigrants. See Joyce Kuo,

Excluded, Segregated and Forgotten: A Historical View of the Discrimination of Chinese

Americans in Public Schools, 5 ASIAN AM. L.J. 181, 187 (1998) (discussing the Chinese Exclusion

Act of 1882). Other laws at the time prohibited Chinese immigrants from land ownership, voting,

access to the courts, employment, interracial marriages, and naturalized citizenship. Id. at 188.

Until the Supreme Court struck down the doctrine of “separate, but equal,” Asian Americans were

frequently forced to attend segregated public schools. See Guey Heung Lee v. Johnson, 404 U.S.

1215, 1215 (1971) (“Historically, California statutorily provided for the establishment of separate

schools for children of Chinese ancestry.”). “Brown v. Board of Education was not written for

Blacks alone” but also to remedy this “classic case of de jure segregation . . .” Id. at 1215-16.

       Vestiges of this history remain. Today, Asian Americans continue to face racial bias, and

are often falsely stereotyped as timid, exotic, perpetual foreigners, or model minorities. These

views translate into barriers in the workplace, where Asian Americans are the group least likely to

be promoted to management even in industries where they are employed in high numbers, such as

the tech industry. See Buck Gee and Denise Peck, Asian Americans are the Least Likely Group in

the U.S. to be Promoted to Management, HARV. BUS. REV., May 31, 2018. In a 2017 survey, one-

quarter of Asian Americans reported personally experiencing racial discrimination in applying for

jobs, receiving equal pay or securing promotions, and renting or buying housing. National Public



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Radio, Robert Wood Johnson Foundation, and Harvard T.H. Chan School of Public Health,

Discrimination in America: Experiences and Views of Asian Americans (Nov. 2017) at 6,

https://www.npr.org/assets/news/2017/12/discriminationpoll-asian-americans.pdf.      This    same

survey found that one-third of Asian Americans have encountered a racial slur or offensive

comment about their race or ethnicity. Id. at 8-9.

       Additionally, some colleges have struggled with incidents of racist threats against Asian

American students. See Dennis Romero, Racist, Anti-Asian Flier Rocks UCLA, USC Campuses,

LA WEEKLY, Feb. 11, 2014 (describing obscene and threatening fliers sent to Asian American

student groups at UCLA and USC in 2012 and 2014), http://www.laweekly.com/news/racist-anti-

asian-flier-rocks-ucla-usc-campuses-4431258; see also supra Section I.C (discussing racist threats

against Asian American female students at Harvard). Recently, in the political realm, national

leaders have evoked elements of the Chinese Exclusion Act and Japanese internment to support

unjust immigration policies, recalling the historic hostility against Asian Americans during times

of war. See Adam Liptak, Travel Ban Case Is Shadowed by One of Supreme Court’s Darkest

Moments, N.Y. TIMES, Apr. 16, 2018 (describing then-candidate Donald Trump speaking

admiringly of President Roosevelt’s approach to immigrants in the United States, which included

authorizing Japanese internment camps), https://www.nytimes.com/2018/04/16/us/politics/travel-

ban-japanese-internment-trump-supreme-court.html; Kat Chow, As Chinese Exclusion Act Turns

135,    Experts      Point     to    Parallels        Today,   NPR,            May   5,      2017,

https://www.npr.org/sections/codeswitch/2017/05/05/527091890/the-135-year-bridge-between-

the-chinese-exclusion-act-and-a-proposed-travel-ban.       Amicus     Curiae     recognize     the

commonalities of historical and present-day experiences of exclusion and prejudice shared by




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multiple communities of color—although no group’s experience is the same—and maintain a

commitment to building solidarity with, and learning from, each other.

       Just as Asian Americans shared in the benefits of Brown, so too have they benefitted from

other civil rights advances, including race-conscious remedies. Affirmative action programs

opened the doors of higher education to many Asian Americans in the 1960s and 1970s to increase

their numbers in higher education. See Br. of Amici Curiae Members of Asian Ams. Advancing

Justice, in Supp. of Resp’ts, Fisher v. Univ. of Tex., No. 14-981, 2015 WL 7770251, at 8-10 (Nov.

2, 2015) (“AAJC Fisher Amicus Br.”). In responses to the activism of students, Harvard began

recognizing Asian Americans as a minority for purposes of admissions in 1976. Chin Decl. ¶ 16.

Asian Americans continue to be included in race-conscious employment programs, such as public

contracting, because they remain underrepresented in many fields. See, e.g., AAJC Fisher Amicus

Br. at 7. And there are wide disparities in the socioeconomic status and educational opportunities

for various Asian American sub-groups. See Tran Decl. ¶ 5 (noting feelings of isolation among

Southeast Asian students “due to expectations that [they] have had similar opportunities as other

Asian students, when instead [they] come from a demographic with a distinctly lower educational

and economic background”). Thus, Asian Americans also benefit from an admissions process that

considers each person’s specific circumstances and experiences that stem from their race. Finally,

race-conscious policies that produce diverse educational environments benefit everyone by

teaching cross-racial understanding, debunking stereotypes, and grooming students to create and

support more equitable workplaces and communities.

       B.      Serious Flaws in SFFA’s Statistical Analysis Undermine SFFA’s Arguments
               to Eliminate Race-Conscious Admissions.

       In trying to eliminate all considerations of race in Harvard’s admissions process, SFFA

utilizes a statistical analysis that fundamentally misconstrues the holistic nature of that process by

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placing too much emphasis on applicants’ academic qualifications, rather than the non-academic

qualifications that distinguish competitive candidates within a pool of Harvard applicants with

exceptional academic credentials. Card Rep. at 12, 16, 28-31, 48, 65, 79; Rebuttal Report of David

Card, Ph.D., Ex. 37 to Decl. of Felicia H. Ellsworth in Supp. of Harvard’s Mot. for Summ. J (“Card

Rebuttal”) at 4, 10-15. SFFA’s misplaced emphasis on the academic qualifications of competitive

applicants, who are already in the upper margins of the pool, see Card Rep. at 6, is particularly

egregious given the racial discrimination inherent in the standardized test scores that make up a

large part of the academic criteria. See supra Section I.B.

         Concerns that SFFA manipulated data to achieve its conclusions arise from questionable

decisions made in its analysis. For example, SFFA compares applicants’ data across all six years

(rather than each year individually)13 and omits applicants—such as athletes, legacies, children of

faculty, children of large donors and others who are on the Dean’s or Director’s interest list—who

receive special consideration, but nonetheless are still part of the admissions process.14 In addition,

SFFA ignores important control variables, such as parental occupation, intended career, and staff

interview ratings,15 and the analysis of the “personal rating” does not consider applicants’ personal

essays, which are a key component of that rating.16

         Adjustments to SFFA’s statistical analysis raise serious questions as to whether it has met

its burden to prove that Harvard’s consideration of race, as one of many factors, in its admissions

process directly discriminates against Asian American applicants. Card Rep. at 46, 62-65, 79; Card


         13
            Card Rep. at 51-54, 66; Card Rebuttal at 7, 39-40, 43-46.
         14
            Card Rep. at 34-35, 57-58; Card Rebuttal at 18, 30, 46-52, 55. These applicants include recruited athletes,
children of Harvard or Radcliffe alumni, individuals on special interest lists maintained by the Dean and Director of
Admissions (which tend to include applicants related to donors), and children of Harvard faculty and staff. Card Rep.
at 34; Card Rebuttal at 46. Plaintiffs initially omitted Early Action candidates as well, but later included these
applicants in their analysis. Card Rebuttal at 46 n.84.
         15
            Card Rep. at 40-44, 48, 79; Card Rebuttal at 6-7, 18, 34-35, 40-43, 43, 55.
         16
            Card Rep. at 70; Card Rebuttal at 5, 21-22.


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Rebuttal at 53-55. Indeed, rather than finding statistically significant disparities against Asian

Americans, Harvard’s expert found that, in four of the six years examined, Asian American

applicants had an increased likelihood of admission (though statistically insignificant) compared

to white applicants.17 Card Report at 67, 78-79. Moreover, being Asian American increased the

likelihood of admission (though again statistically insignificant) for women and applicants from

California, which are two large subgroups of Asian American applicants,18 thus undermining

SFFA’s assertion of an “Asian penalty.” Card Rep. at 75-78, 80; Card Rebuttal at 8, 53, 60-63.

        An examination of the effect of an applicant’s intended career, which SFFA omitted from

its analysis, illustrates how certain factors (other than race) may influence the likelihood of

admission. Harvard’s statistical analysis, which included this factor, found that 30% of Asian

American applicants—compared to 19% of white applicants—identified medicine or health as

their intended career. This intended career has the lowest admission rate (5%) of all intended

careers. Card Rep. at 44. Harvard’s expert also found that intended career, as well as several other

factors, have a greater impact than race on an applicant’s admission to Harvard. Card Rep. at 83.

        Of additional concern is the possible variation of admission rates among specific Asian

American subgroups, which may differ from the admission rates for Asian Americans as a

whole. Asian Americans have the most intra-group economic inequality, and viewing them as a

single entity masks significant disparities among subgroups. Rakesh Kochhar & Anthony Cilluffo,

Income Inequality in the U.S. is Rising Most Rapidly Among Asians, Pew Research Center, July 12,

2018,    http://www.pewsocialtrends.org/2018/07/12/income-inequality-in-the-u-s-is-rising-most-

rapidly-among-asians/; see also Alia Wong, ‘The Model Minority’ at the Country’s Top-Ranked


        17
            SFFA’s discrimination claim focuses on comparisons between Asian American and white student
applicants. SFFA has conceded that any positive effect of race on the admission of Black and Latinx applicants would
not cause the alleged negative effect of race on Asian American applicants. See Pl.’s Br. at 13.
         18
            One-half of Asian American applicants are female, and 30% are from California. Card Rep. at 80.

                                                        25
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Universities, THE ATLANTIC, Sept. 24, 2015 (discussing very low rates for Laotian, Hmong, and

Cambodian American students in attaining higher education), https://www.theatlantic.com/

education/archive/2015/09/university-california-top-rankings-asian-students/407080/.     SFFA’s

overreliance on academic achievement (defined in large part by standardized test scores) in its

statistical analysis, coupled with the wide variation of test scores among Asian American

subgroups discussed above, see supra Section I.B, provide additional grounds to question its

conclusions, which are centered on a false view of “Asian Americans” as a monolithic group of

people. See Decl. of Fatima Shahbaz ¶ 13 (“[To] reduce Asian Americans to their test scores is,

quite frankly, offensive because it supports the notion that Asian Americans are just a summation

of their test scores, instead of real individuals with personal struggles and triumphs that have

shaped their lives.”).

       Of course, as Harvard’s expert opined, statistical analyses have limitations in examining

subjective factors that are difficult to reduce to quantifiable variables, such as an applicant’s

personal essay that makes up a significant portion of the personal rating. See Card Rep at 32-33,

70. However, it is SFFA’s burden to prove its claims, and it has chosen to do so with statistical

analyses that, when scrutinized, are vulnerable to several important criticisms.

       C.      SFFA’s Requested Remedy—the Erasure of Race from Harvard’s Admissions
               Process—Would Not Address the Alleged Discrimination Against Asian
               Americans.

       Because far fewer Black, Latinx, and Native American students apply to elite colleges and

universities, as compared to white applicants, the decrease in their admissions due to the

elimination of race considerations would not greatly benefit Asian American student applicants.

See Goodwin Liu, The Causation Fallacy: Bakke and the Basic Arithmetic of Selective Admissions,

100 MICH. L. REV. 1045, 1046 (2002). In fact, according to Harvard’s expert, eliminating all



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considerations of race would increase the Asian American share of the admitted class by 3

percentage points—from 24% to 27%—while at the same time increasing the share of white

students by almost triple that amount—8% percentage points, from 40% to 48%. Card Rep. at 103.

SFFA concedes that, according to its own statistical analysis, any advantage to Black and Latinx

applicants due to their race does not account for the alleged negative effect of Harvard’s admission

system on Asian American applicants. See Pl.’s Br. at 13.

       If there is discrimination against Asian American applicants in the personal category

rating—whether due to implicit or other bias by Harvard or some other outside entity, such as

teachers, guidance counselors, or alumni interviewers—Harvard must take immediate action to

eliminate and/or counter this bias. But “we must be careful not to conflate society’s tendency to

view the [Asian American/Pacific Islander] experience as a monolithic one with any effects of

race-conscious admissions.” Ho Decl. ¶ 11. The solution to the question of bias is “not to erase all

applicants’ identities by eliminating race consciousness.” Yasin Decl. ¶ 5. Instead, Harvard can

better ensure that implicit bias does not infect decisionmaking by providing implicit bias training

to everyone involved in the admissions process (with a focus on understanding both the shared

experiences of Asian Americans and the varied experiences of people from different Asian

American subgroups), hiring additional Asian American admissions officers, and recruiting

additional Asian American alumni interviewers. Harvard should also reconsider its approach of

grouping all Asian American and Pacific Islander applicants together as a single ethnic

demographic in the admissions process, which cloaks the myriad distinct identities under that




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banner and may also disadvantage members of certain subgroups. These recommendations apply

equally to eliminate and/or counter biases against all other communities of color.19

         SFFA’s true motivations are laid bare by the fact that, instead of advancing remedies that

would actually help Asian Americans, it instead seeks a remedy that would dramatically improve

the rate of admission of white student applicants. Card Rep. at 103 (noting that elimination of race

would cause the white share of admitted class would increase from 40% to 48%). SFFA’s

transparent display of false concern for the real interests of Asian Americans is unsurprising given

that Edward Blum is the engine behind this litigation. Indeed, Mr. Blum has long been a foe of

civil rights on a mission to put an end to “race-based laws and policies.” Joan Biskupic, Special

Report: Behind U.S. Race Cases, a Little Known Recruiter, REUTERS, Dec. 4, 2012, http://www.

reuters.com/article/us-usa-court-casemaker-idUSBRE8B30V220121204. In this quest, he has

brought multiple lawsuits to make college admissions less diverse and inclusive, including Fisher

and a pending case brought by SFFA against the University of North Carolina (“UNC”). Stephanie

Mencimer, Here’s the Next Sleeper Challenge to Affirmative Action: The Guy Who Engineered

the Fisher Case in the Supreme Court Isn’t Done Yet, MOTHER JONES, July 19, 2016, http://www.

motherjones.com/politics/2016/07/abigail-fisher-going-stay-mad.

         Mr. Blum has no history of advocacy for the Asian American community and has made

clear that the genesis of this lawsuit was his failure to prevail in the Fisher litigation. See

SCOTUSblog on Camera: Edward Blum (Complete), SCOTUSblog, http://www.scotusblog.com/

media/scotusblog-on-camera-edward-blum-complete (presenting a video of Edward Blum



         19
            For example, the category of “Black” applicants can include both recent African or West Indian immigrants
and African Americans who are the descendants of people who toiled under slavery and whose families have lived in
the United States for generations through the Jim Crow era and Civil Rights Movement. Both bring distinct
experiences and identities to Harvard’s campus. See Sara Rimer & Karen W. Arenson, Top Colleges Take More
Blacks, but Which Ones?, N.Y. TIMES, June 24, 2004, https://www.nytimes.com/2004/06/24/us/top-colleges-take-
more-blacks-but-which-ones.html.

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describing his plan to sue Harvard and UNC). Tellingly, the founders of SFFA include Mr. Blum,

Abigail Fisher, and her father. Harvard’s SMF ¶ 241. Mr. Blum has readily admitted that the goal

of suing Harvard and UNC “is to eliminate the use of race or ethnicity in applying. So, I needed

plaintiffs. I needed Asian plaintiffs.” SCOTUSblog, supra. Thus, SFFA cannot credibly assert that

it is seeking redress for the benefit of Asian American applicants by pursuing this case. Rather,

this litigation is a naked and cynical attempt to once again challenge well-settled law and make

spurious and controversial claims of discrimination for the sole purpose of preventing Harvard and

other colleges and universities from creating a diverse learning environment for their students.

                                         CONCLUSION

       The pressing need for diversity and equity on Harvard’s campus requires race-conscious

admissions to help foster an inclusive environment that facilitates meaningful exchanges between

students of all backgrounds. “[N]othing less than the ‘nation’s future depends upon leaders trained

through wide exposure to the ideas and mores of students as diverse as this Nation of many

peoples.’” Grutter, 539 U.S. at 324 (quoting Bakke, 438 U.S. at 313). As members of the Harvard

student and alumni community, Amici Curiae urge this Court to follow clear precedent and reject

Plaintiff’s dubious challenge to Harvard’s narrowly-tailored efforts to foster diversity and

inclusion by considering race, as one of many factors, in its admissions decisions.




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Dated: July 30, 2018

                                           Respectfully submitted,

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                                     Harvard South Asian Association, Harvard
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                                     Pacific American Studies at Harvard
                                     College, Harvard Phillips Brooks House
                                     Association, Harvard Minority Association
                                     of Pre-Medical Students, Coalition for a
                                     Diverse Harvard, First Generation Harvard
                                     Alumni, Native American Alumni of Harvard
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